Case 2:04-cr-20421-.]DB Document 95 Filed 05/18/05 Page 1 of 2 Page|D 82

   

LATISHA D. PETTIGREW,

IN THE UNITED sTATEs DISTRICT CoURT 1»11.§¢:1 1111 \,LQC/ oc.
FoR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIVISION 05 HL.Y 1 8 511 91 51
UNITED sTATEs oF AMERICA, ) 11011~111. 1 111-oz 159
) §',,11‘11“!'{¢3
Plaintiff, )
)
V. ) CR. NO. 04-20421-B
)
JEREMiAH HARRis, )
LATISHA D. BURNS, )
DESHUN GREEN, )
)
)
)

Defendants.

 

ORDER TO DISMISS lNDICTMENT

 

Upon motion of the United States, IT IS HEREBY ORDERED that above-named
individuals are hereby dismissed Without prejudice from the above referenced indictment

q\
Ordered this f % day of May, 2005.

 

N RABLE J. DANIEL BdEEN
T D srATEs DIsTRrCT IUDGE

DATE: S~[ Z-O§

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Assistant United States Attorney
167 N. Main Street, Room 800
Memphis, TN 38103

APPRo\/ED. OJ/OZLm/' %1@¢/(§

This document entered on the docket sheet in compliance

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UNITED sTATE mle COURT - WESTERN D's'TRCT oFTENNESSEE

   

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